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UNITED STATES DISTRIGT-GOURT
SOUTHERN DISTRICT OF'MISSISSIPPI

SOUTHERN DIVISION
- UNITED STATES OF AMERICA )
)
v. J
)
WILLIAM JEFFERY PRIEST )-

PLEA AGREEMENT

William Jeffery Priest, the Defendant, and his attorney, Doyle L. Coats, have been notified
that: -

1. Defendants Obligations

Lf the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging his with the felony crime of Conspiracy to Deprive. Rights
Under Color of Law, in violation of 18 U.S.C. § 241, and if he fully cooperates with. federal'and state
law enforcement, as well as, the Criminal Section of the U.S. Department ‘of Justice, Civil Rights
Division and the United States Attorney for the Southern District of Mississippi (“Government”)
and with the District Attorney for the Second Circuit Court Disttict of Mississippi (“District
Attorney”), as set out in patagraphs 9 and 10.

2. Government’s Obligations | -

a) Thereafter, the Government will tecommend that the. Court: @) accept the
Defendant’s plea of guilty; (ii) recommend that the Court impose a sentence within
the lower 25% of the applicable Sentencing Guidelines range as computed by the
Coutt; and (ii) inform the United States Probation Office and the Court of this
Agreement, the nature and extent of Defendant's activities with respect to this case
and all other activities of Defendant which the Government deems televant to

sentencing, including the nature and extent of Defendant's cooperation with the
Government.

b) The Defendant has timely notified the Government of his intent to enter a plea of
guilty. If the Defendant qualifies for a decrease under U.S.S.G. § 3E1.1(a), and if the
Defendant’s offense level determined prior to the operation of U.S.8.G. § 3E1.1(a) is
a level 16 or greater, the Government will move for an additional one-level decrease

in the guidelines in accordance with U.S.5.G. § 3E 1.10).

c) Should the Government determine that Defendant has provided substantial
assistance to law enforcement officials in an investigation or prosecution, and has
fully complied with the understandings specified in this Agreement, then the
Government may submit 2 motion putsuant to United States Sentencing Guidelines
(USS.G.”) § SK11 (and Title 18, United States Code, Section 3553(e), if
applicable), tequesting that the Court sentence Defendant in light of the factors set

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forth in U.S.S.G. § 5KA+1(a)(1)=(6), ‘Fhe determination as.to-whether Defendant-has
provided such substatitial assistance shall rest solely with the Government. Should
any investigation in which Defendant offers information be incomplete, at the time
of his sentencing, the Government may, in lieu of a downward departure at
sentencing, move for a teduction in sentence pursuant to Rule 35 of the Federal
Rules of Ctiminal Procedure’ at such time as the cooperation is complete. It is
understood that, even if such a motion is filed, the sentence to be imposed on
- Defendant remains within the sole discretion of the Coutt.

3. Count of Conviction

It is understood that, as of the date of this Plea Agreement, the Defendant and his attorney
_ have indicated that the Deféndant desires to plead guilty to Count One of the Information.

4, Sentence

The Defendant understands that the penalty for the offense charged in Count 1 of the
Information, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to exceed ten (10) yeats; a term of supervised telease of not less than three 3) .
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised -
telease will be imposed and that the term will be in addition to any prison sentence he teceives;
farther, if any of the terms of supervised release ate violated, the Defendant can be returned to
prison for the entire tetm of supervised release, without credit for any time already served on the |
term of supervised release prior to the Defendant’s violation of those conditions, It is further
understood that the Court may require the Defendant to pay restitution in this matter in accordance
with applicable law. The Defendant further understands that he is Hable to make restitution for the -
full amount of the loss determined by the Coutt to constitute relevant conduct, which is not limited
to the count of conviction.

. 5, Stipulation’

The Defendant will plead guilty because he is in fact guilty of the charge contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following
facts that establish his guilt beyond a reasonable doubt:

William Jeffery Priest is a Hartison County Sheriff's Department Cotrections Officer who
_ worked the Hattison County Adult Detention Center (“Jail”). Priest worked at the Jail from on or
about August 1, 2004, through the present.

While he was employed at the Jail and acting under color of law, Priest conspited with other
employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates at the
Jail by -willfully using excessive and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before August 1, 2004, and continued through at least January
28, 2006. Priest did not participate in the conspiracy after January 28, 2006.

Priest and his co-conspitators engaged in a pattem of conduct that included, but was not
limited to, Priest and other officers assaulting inmates, knowing that the physical force was
_ unnecessary, unreasonable, and unjustified,
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‘im numerous assaults against inmates. Priest
ets participate in numerous additional assaults
pirators and other corrections officets boasting
ses of excessive force.

In addition, Priest conspired with other officers to conceal these instances of physical abuse

of inmates. Priest, co-conspirators, and other cortections officers attenapted to, and did in fact,

conceal their abusive conduct by failing to document their excessive uses of force, and by giving
false statétiéhts and writing false, vague, and tiisleading reports.

Fhe information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists fot the Defendant’s plea of guilty. The Stipulation does.
not contain every fact known to the Defendant and to the Government concerning the Defendant’s
and/or other’s involvement in the offense conduct and other matters.

6. Forfeitures
None.
7. This Plea Agreement does NOT. Bind the Court

It is further understood that the Court, in accord with the principles of Rules 11()(1)(B) of -
the Fedetal Rules of Criminal Procedure, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has‘no other obligation in regard to sentencing than as stated in
patagtaph 2.

8. Determination of Sentencing Guidelines

-Itis further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case, but the Court may
impose a sentence other than that indicated by the Guidelines if the Court finds that another
sentence would be more appropriate. The Defendant acknowledges that he is not relying upon
anyone’s calculation of a patticular Guidelines range for the offense to which he is entering his plea,
and recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above.

9, Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the
consideration for the action taken by the Government herein is the Defendant's representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein.
Rarerepanennvens sienna

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10.

It is further understood that full cooperation referred to in paragraph 1 includes:

a) immediate and truthful disclosure of all matters involved in this chatge to the
apptopiiate federal and state agents;

b) truthful and complete disclostite of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government;

c) . tnithful testimony at any trial involving any matter arising from these charges, in

éral ©: state coutt; ,

d) .  truthfil testimony before any Grand Jury or at any trial in this or any other district
on any matter about which the Defendant has knowledge and which is deemed
pettinent to the Government; .

e) ° full and truthful cooperation with the Government, with any law enforcement .
agency designated by the Government, and/or the District Attorney’s office;
attendance at all meetings at which the U.S. Attorney or the District Attorney

. tequests his presence;

g) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and

h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

11, Limits on Further Prosecution

It is further understood that the Government and the District Attorney will seek no further
ctiminal prosecution of the Defendant.for any acts ot conduct by the Defendant as of the. date of
this Agreement, atising out of any event covered by the Information referenced in paragraph 1, if
the Defendant voluntatily, truthfully, and completely discloses all information and knowledge that
the Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to
that matter, the Government and/or the District Attorney is free to seek prosecution of the
Defendant. This Plea Agreement does not provide any protection against prosecution for any
crimes except as set forth above. oo

12. Breach of this Agteeme t

It is farther understood that should the Defendant fail ot refuse as to.any patt of this Plea
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above ate rescinded, and the Defendant’s breach shall be
considered sufficient grounds for the pursuit of any prosecutions that the Government or the
District Attorney has not sought as a result of this Plea Agreement, including any such prosecutions
that might have been dismissed or otherwise barred by the Double Jeopardy Clause.

If the Defendant fails to fulfill his obligations under this Plea Agreement, the United States
may seek release from any ot all obligations under this Plea Agreement. If the Defendant fails to

- fulfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 11(e)(6) of
the Federal Rules of Criminal Procedure, ot any other federal mule, that the Defendant’s statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible, Whether the Defendant has breached any provision of this Plea Agreement, if

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contested: by the parties, shall-be determined-by: the Coutt in an appropriate proceeding at which. the
Defendant’s disclosures and documentary eviderice shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence. .

13.

Binding Effect on this Federal District ot Upon the District Attorne

It-is further understood that this Plea Agreement does not bind any other state ot local
prosecuting authorities or any other federal district, except as otherwise provided herein; further,
this Plea Agreement does not bind the Attorney General of the United States in regard to any
matter, civil ot ctiminal, involving the tax statutes of the United States.

14. Financial Obligations

It is farther understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant sill then and there pay’
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013, to
the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof of
payment to the Government or to the U.S. Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assesstnent at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while he is

‘incarcerated. The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetaty penalties are imposed by the Court will be due and payable itnrtiediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore; the
Defendant agrees to provide all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pte-sentencing debtor's exaihination. If. the “Court
itnposes a schedule of payments, the Defendant understands that the schediile of payments is metely
a minimum schedule of payments and not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment. If the Defendant is incarcerated, the
Defendant agrees to patticipate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regatdless of whether the Court specifically directs his participation or imposes a schedule of

payments.

15. Further Crimes

It is farther understood that should the Defendant commit any further crimes, this Plea
Agreement shall be deemed violated and he shall be subject to prosecution for any federal or state
criminal violation of which the Government has knowledge, and that any information provided by
him may be used against him.

16. Waivers

The Defendant, knowing and understanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent, to
a ttial by jury, to subpoena witnesses on his own behalf, to confront any witnesses against him, and
to appeal his conviction and sentence, in exchange for the recommendations and concessions made
by the Government or the District Attorney in this Plea Agreement, hereby expressly waives the
above rights and the following: : .
at in ea wlenete se teen a anntinpen mete nett eect

ee

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1.

The right to appeal the Hon ahd sentence imposed in this case, or the manner
in which that sérit imposed, on the grounds set forth in Title 18, United
States Code, § 3742 Ay ground, provided the sentence does not exceed the

‘maximum sentence allowed by the statute; and

The tight to contest the conviction and sentence ot the manner in which the
sentence was imposed in any post-conviction proceeding, including but not limited

‘to a motion brought under Title 28, United States Code, § 2255, and any type of

proceeding claiming to double jeopardy or excessive penalty as a result of any
forfeiture ordered ot to be ordered in this case; and

Any tight to seek attorney’s fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the.
Government’s position in the instant prosecution, is not merely frivolous, vexations,
ot undertaken in bad faith; and

All rights, whether assetted directly or through a representative, to request or receive
any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including without limitation any records
that may be sought by him or his representative under the Freedom of Information
Act, set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at
Title 5, United States Code, § 552a.

The Defendant further acknowledges and agrees that any factual issues tegatding. his
sentencing will be resolved by the sentencing judge under a prepondetance of the
evidence standard, and the Defendant waives any right to a jury determination..of
these sentencing issues. The Defendant further agrees that, in making its sentencing
decision, the District Court may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at tial.

The Defendant waives these rights in exchange for the recommendation and
concessions made by the Government and the District Attorney in this Plea
Agreement.

Future Contact with the Defendant

The Defendant and his attorney acknowledge that if forfeiture, restitution, a fine, or special

assessment, or any combination of these is ordered in the Defendant's case, that this will require
regulat contact with the Defendant during any period of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case to
confirm in writing whether defense counsel will continue to represent the Defendant in this case and
in mattets involving the collection of the financial obligations imposed by the Court. If the
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
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and-his attomey understand and agree-that such. dixect contact with the Defendant shall. not.be
deetned : itapto Bet ex parte contact: with: the Defetidant if defense counsel fails’ to notify the
3£ any continued legal +epresentation within two weeks after the date of entry of the
jadginent i in n this case.

It is futther understood that this Plea Agreement completely reflects all promises,
agreements, and conditions made by and among the Government, the District Attorney, and the
Defendant.

The Defendant and his Attotney declate that the terms of this Plea Agreement have been:

L READ TO OR BY HIM;

2. E; LATNED TO HIM BY HIS ATTORNEY;
3. UNDERSTOOD BY HIM;

4, VOLUNTARILY ACCEPTED BY HIM; and
5. AGREED TO AND ACCEPTED BY HIM.

WITNESS OUR SIGNATURES, as set forth helow on January |4, 2007.

BOR (PAE G@VERNMENT: FOR THE DEFENDANT:
ws WC ee P70

Dunn Lampton Date William Jeffery Priest " - Date
United States Attorney Defendant

by: Jack Brooks Lacy, Jt.

Assistant United States Attorney

ALY f So Link Sadie Z. 4 Sass LLB?

Lisa M. Krigsten ~ Date Doyle’. Coats, Esq. Date
Sp eci Litigation | Counsel - Attorney for Defendant

John Cotton Richmond Date
Trial Attorney
Civil Rights ed Criminal Section

(bu CL (Ex anve. |-l4- “2.087

Cone Caranna Date
District Attorney
Second Circuit Court District
Case 1:07-cv-01205-LG-RHW Document 315-13 Filed 12/14/09 Page 9Qof 22
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@A0 245B (Rev. 06/05) Judgment in a Criminal Case
_ Sheet TD

s:DISTRIGT COURT

— SOUTER ASHTON - MISSISSIPPI
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
, V.
William Jeffery Priest
Case Number: 1:07cr4LG-JMRO001

USM Number: _ 08286-043
Doyle Coats
Defendarit’s Attornéy

THE DEFENDANT: .

m pleaded guilty to count(s) I

Cl pleaded nolo contendere to count(s)

whicli was accepted by the court.
C1 was fourid guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense : Offense Ended Count

18 U.S.C, 241 Conspiracy against rights 1

_

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

(1) The defendant has been found not guilty on count(s)

[1 Count(s) Olis (1 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
-or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
thie defendant must notify the court and United States attorney of material changes in economic circumstances.

11/5/2007

Date of Imposition of Judgment
hy / Louis Duirola, n.

Signature of Judge

Louis Guirola,_ Ir TLS Di strict Indge.
Name and Title of J udge

1TU/R/2007

Date

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" AO 245B (Rey. 06/05) Judgment in Criminal Case

Sheet 2 — Imprisonment

Judgment — Page 2 of 6

DEFENDANT: William Jeffery Priest
SESE NUMBER: 1:07cr4LG-JMR:001

wt

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: .

21 months as to Count 1

@ The court makes the following recommendations to the Bureau of Prisons:
that Defendant be designated to an institution which is closest to his home for which he is eligible

Cl The defendant is remanded to the custody of the United States Marshal.

(CThe defendant shall surrender to the United States Marshal for this district:

“sat 2:00 Cam © pm on

Cas notified by the United States Marshal.
OR
, & The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons or, if not yet designated, -

Vee tis
~~‘the Upited States MoshAbn _January 14, 2008 . BS

(1 as notified by the United States Marshal.

C] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows: - .
Defendant delivered on to
at » With a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:07-cv-01205-LG-RHW Document 315-13 Filed 12/14/09 Page 11 of 22
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, (Rev. Uf 05) Judgmei a Criminal Case

“
x

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Judgment—Page ge of 6

William Jeffery Priest
“(076r4LG-IMR-001

SUP LEASE

Upon release from imprisonment, the defendant shall.be ori supé ryised release for a term of:

two years as to Count 1

‘The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
sa GF the B in OF Prisons.

Th awfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
sub hall sibmit to one drug test within 15 days of release from irnprisonmént and at least two periodic drug tests

ed by the court.

ove testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

subst afice abuse. (Check, if applicable.) ,

m «The ‘defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

(1 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

Cl The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
stiident, as ditected' by the probation officer. (Check, if applicable.)

[1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

/ If this Judement imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the ow :
. ypedule'e : Paymients ‘sheet of this judgment, : A Lo

“The ndant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions:

on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the. Sefendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days.of.
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer‘and follow the instructions of the probation officer;
4) _ the defendant shall support his or her dependents and meet other family responsibilities; oO

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
atceptableé reasons; ;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) - the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer; : .

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shail not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

~ 13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement. ,
Case 1: O7- -cv-01205-LG-RHW Document 315-13 Filed 12/14/09 Page 12 of 22
{ -09004<L.G-JMR Document 17 — Filed 11/13/2007 Page 4 of 6

“Judgment Page 4 oof 6

tise, as areca by the probation
‘th ‘officer: The’ déferidant shall contribute
| capable by the probation officer.

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Shei riminal Mc nalties

Judginent — Page 5 oof 6 ——

William Jeffery Priest
1;07er4LG-JMR-001

‘TARY, PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100:00 $ $

[1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case(AO 245C) will be entered
after such determination.

[1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

if the
the:priority order or percentage payment column elow. However, pursuant to 18 .C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

defendant makes a partial payment, each payee shall receive an approximately Pro ortioned payment, unless specified otherwise in

Name of Payee Total Loss* Restitution Ordered : Priority or Percentage
)
TOTALS $ 0} 86 0

[J Restitution amount ordered pursuant to plea agreement $

(1 ‘The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(]_ The court determined that the defendant does not have the ability to pay interest and itis ordered that:
[1 the interest requirement is waived forthe [J fine (1) restitution.

[ theinterest requirement forthe [] fine [1 restitution is modified as follows:

1
t

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996. : .
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_A0245B (Rev. GES Raderhen al Case :

Sheet 6 — Sched

Judgment — Page 6 of _6

DEFENDANT: William Jeffery Priest
CASENUMBER: — 1:07cr4LG-JMR-001

SCHEDt

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A  [] Lump sum payment of $ _ 100.00 due immediately, balance due

[not Jater than or
EI in aecordance ma OD OF Be 0 F below; or

B [1 Payment to begin immediately (may be combined with [IC, (1D,or [)F below); or

C 0 Paymentinequal _ (e.g., weekly, monthly, quarterly) installments of $ ___ over a period of
_ (2.8. months or years), to commence __ (e.g., 30 or 60 days) after the date of this judgment; or
D (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of

(e.g., months or years), to commence _ -_ (e.g., 30 or 60 days) after release from imprisonment to a
term of stipervision; or

E (2 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from ©
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or.

F (J Special instructions regarding the payment of criminal monetary penalties:

j

imprisonment. All criminal monetar} penalties, except those payments made throug the Federal Bureau of PrisonsInmate Financia
Responsibility Program, are made to the clerk of the court. ot

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

LI Jomt and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

(1 The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):
(2 The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs,.including cost of prosecution and court costs.

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- SOUTHERN DISTRICT OF MISSISSIPP)
FILED
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI NOV 2 2 2008
JACKSON DIVISION WER
. . . | BY. ” : DEPUTY
UNITED STATES OF AMERICA ) .
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.
MORGAN LEE THOMPSON )
PLEA AGREEMENT

Morgan Lee Thompson, the Defendant, and his attorney, James L. Farrior, II, have been
notified that: -

1. Defendants Obligations ©

If the Defendant waives indictment and tenders a plea of guilty to a one count criminal
information to be filed in this case, charging him with the felony crime of Conspiracy to Deprive
Rights Under Color of Law, in violation of 18 U.S.C, § 241, and ifhe fully cooperates with federal
and state law enforcement, as well as, the Criminal Section of the U.S. Department of Justice, Civil
Rights Division and the United States Attorney for the Southern District of Mississippi
(“Government”) and with the District Attomey for the Second Circuit Court District of Mississippi
(“District Attorney”), as set out in paragtaphs 9 and 10. ,

2. Government’s Obligations

a) Thereafter, the Government will recommend that the Court: (i) accept the :
Defendant’s plea of guilty; and (ii) inform the United States Probation Office and ihe
Court of this Agreement, the nature and extent of Defendant's activities with respect
to this case and all other activities of Defendant which. the. Government deems
relevant to sentencing, including the nature and extent of Defendant's cooperation
with the Government.

b) The Defendant has timely notified the Government of his intent to enter a plea of
guilty. Ifthe Defendant qualifies for a decrease under U.S.8.G. § 3E1.1 (a), andifthe .
Defendant’s offense level determined prior-to the operation of U.8.8,G. § 321. 1(a)
is a level 16 or greater, the Government will move for an additional one-level:

_ decrease in the guidelines in accordance with U,S.S5.G, § 3E1 .1(b).

¢) Should the Government determine that Defendant has provided substantial assistance
to law enforcement officials in an investigation or prosecution, and has fully
complied with the understandings specified in this Agreement, then the government
may submit a motion pursuant to United States Sentencing Guidelines (“U.S.S.G.”)

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§ S5K1.1 (and Title 18, United States Code, Section 3553 (e), if applicable),
requesting that the Court seritence Defendant in light of the factors set forth in
U.S.S.G. § 5K1.1(a)(1)}-(5). The determination as to whether Defendant has provided
such substantial assistance shall rest solely with the Government. Should any
investigation in which Defendant offers information be incomplete at the timne of his
sentencing, the Government may, in lieu of a downward departure at sentencing,
move for a reduction in sentence pursuant to Rule 35 of the Federal Rules of
Criminal Procedure at such time as the cooperation is complete. It is understood that,
even if such a motion is filed, the sentence to be imposed on Defendant remains
within the sole discretion of the Court.

3. Count of Conviction

It is understood that, as-of the date of this Plea Agreement, the Defendant and his attorney
have indicated that the Defendant desires to plead: guilty to Count One of the Information.

4, Sentence

The Defendant understands that the penalty for the offense charged in Count | of the
Infotmation, charging a violation of Title 18, United States Code, Section 241, is a term of
imprisonment not to exceed ten (10) years; a term of supervised release of not less than thrée (3)
years; and a fine of up to $250,000. The Defendant further understands that a term of supervised
release will be imposed and that the term will be in addition to any prison sentence he receives;
further, if any of the terms of supervised release are violated, the Defendant can be returned to prison
for the entire term of supervised release, without credit for any time already served on the term of
supervised release prior to thé Defendant’s violation of those conditions. Itis further understood that
the Court may require the Defendant to pay restitution in this matter in accordance with applicable
law; The Defendant further understands that he is liable to make restitution for the full amount of

the loss determined by the Court to constitute relevant conduct, which is not limited to the count of
conviction.

5. Stipulation

The Defendant will plead guilty because he is in fact guilty of the chargé contained in Count
One of the Information. In pleading guilty, the Defendant admits and stipulates to the following facts
that establish his guilt beyond a reasonable doubt:

Morgan Lee Thompson is a former Harrison County Sheriff's Department Corrections
Officer who worked the Harrison County Adult Detention Center (“Jail”). Thompson worked at the
Jail from on or about May 17, 2004, through on or about September 25, 2006. For most of that time,
Thompson was assigned to the Jail’s"Booking area. - .

While he was employed at the Jail and acting under color of law, Thompson conspired with
other employees at the Jail, also acting under color of law, to injure, threaten, and intimidate inmates

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“at the Jail by willfully using excessive and unnecessary physical force against those inmates. The
conspiracy began on a date uncertain before May 17, 2004, and continued through at Jeast August
28, 2006. ot .

Thompson and his co-conspirators engaged ina pattern of conduct that included, but was not
limited to, Thompson and other officers striking, punching, kicking, choking, and otherwise
assaulting inmates, knowing that the physical force was unnecessary, unreasonable, and unjustified.

During the conspiracy, Thompson participated in over one hundred assaults against inmates,
Thompson observed co-conspirators participate in over one hundred additional assaults against
inmates at the Jail. Thompson also heard co-conspirators boasting about their participation in willful
and intentional uses of excessive force. The physical abuse of the inmates usually occurred in the
Booking area, the holding cells, the Booking shower, the “B” hallway, the exercise yard, or inthe ©
housing blocks.

In addition, Thompson conspired with other officers to conceal these instances of physical
abuse of inmates, Thompson and his co-conspirators attempted. to, and did in-fact, conceal their
abusive conduct by failingto document their excessive uses of force, and by giving false statements

and writing false, vague, and'misleading reports. .

The conspiracy included the February 4, 2006, assault committed by officers against Jessie
Lee Williams, Jr. (“Williams”), an inmate who died after his interaction with the. officers., During
the Williams assault, Corrections Officers Ryan Michael Teel and Regina Lynn Rhodes. committed
numerous physical acts that were not justified uses of force. Those acts included, but were tot
limited to, Teel striking, punching, choking, and dtherwise assaulting Williams inthehead,neckand .
other areas of Williams’ body, The assault by Teel and Rhodes occurred while Williams was .
restrained and the circumstances-did not justify any use of force. Thompson assisted Teel by helping
to restrain Williams during part of the unjustified assault, Williams lapsed into unconsciousness
shortly after those acts. . ' .

In furtherance of the conspiracy, Thompson wrote and submitted a false, misleading, and
intentionally ‘vague report concerning the Williams incident. On.or about February 8, 2006,
Mississippi Highway Patrol agents interviewed Thompson. Duting that interview, and in furtherance

__ of the conspiracy, Thompson provided false, misleading, and intentionally vague information
concerning the Williams incident. On or about June 14, 2006, Federal Bureau of investigation
agents’ interviewed Thompson. During that interview, and in furtherance of the conspiracy, -
‘Thompson provided false, misleading, afd intentionally vagne information concerning the Williams
incident, as well as other acts that took place during the conspiracy.

The information contained in this Stipulation is provided solely to assist the Court in
determining whether a factual basis exists for the Defendant’s plea of guilty. The Stipulation does
not contain every fact known to the Defendant and to the Government concerning the Defendant’s
and/or other’s involvement in the offense conduct and other matters.

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6. Forfeitures
None,

7, This Plea Agreement does NOT Bind the Court

Itis further understood that the Court, in accord with the principles of Rules 11()(1)(B) of
the Federal Rules of Criminal Procedure, is not required to accept the recommendation of the
Government, but may sentence the Defendant to the maximum fine and imprisonment as provided
by law, and the Government has no other obligation in régard io sentencing than as stated in
paragraph 2. .

8. Petermimation of Sentencing Guidelines

It ts further understood that the United States Sentencing Guidelines are advisory and that
the Defendant and the Defendant’s attorney have discussed the fact that the Court must review the
Guidelines in reaching a decision as to the appropriate sentence in this case,- but the Court may
impose a sentence other than that indicated by the Guidelines if the Court finds that another sentence
would be more appropriate, The Defendant acknowledges that he is not relying upon anyone’s
calculation of a particular Guidelines range for the offense to which he is etttering his plea, and
recognizes that the Court will make the final determination of the sentence and that he may be
sentenced up to the maximum penalties set forth above. ,

5, + Willingness to Cooperate

It is further understood and specifically acknowledged by the Defendant that the ~
consideration for the action taken by the Government herein is the Defendant’s representation, by
execution of this Plea Agreement and otherwise, that the Defendant both can and will carry out the
terms and conditions contained herein.

10. Terms of Cooperation

It is further understood that full cooperation referred to in paragraph 1 includes:

a) immediate and truthful disclosure of all matters involved in this charge to the .
appropriate federal and state agents; oo

by truthful and complete disclosure of other matters involving possible violations of
federal law to the appropriate federal or state agency as directed by the Government,

6) truthful testimony at any trial involving any matter arising from these charges, in

federal or state court; .

d) truthful testimony before any Grand Jury. or at any trial in this or any other district on
any matter about which the Defendant has knowledge and which is deemed pertinent
to the Government; , ‘

e) full and truthful cooperation with the Government, with any law enforcement agency
designated by the Government, and/or the District Attorney’s office;

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f) attendance at all meetings at which the U.S, Attorney or the District Attomey
requests his presence,
(g) provision to the Government, upon request, of any document, record, or other
tangible evidence relating to matters about which the Government, any designated
law enforcement agency, and/or the District Attorney inquires of him; and
(h) an obligation on the part of the Defendant to commit no further crimes whatsoever.

IL. Limits on Further Prosecution

It is further understood that thé Government and the District Attorney will seek no fiirther
criminal prosecution of the Defendant for any acts or conduct by the Defendant as of the date of this
Agreement, arising out of any event covered by the Information referenced in paragraph 1, if the

’ Defendant voluntarily, truthfully, and completely discloses all information and knowledge that the
Defendant possesses. Should the Defendant not voluntarily and completely disclose, then as to that
matter, the Government and/or the District Attorney is free to seek prosecution of the Defendant.
This Plea Agreement does not provide any protection against prosecution for any crimes except as
set forth above. .

12. Breach of this Agreement

It is further understood that should the Defendant fail or refuse as to amy part of this Plea
Agreement or commit any other crimes, the representations by the United States or the District
Attorney in paragraphs 2 and 11 above are rescinded, and the Defendant’s breach shall be considered
sufficient grounds for the pursuit of any prosecutions that the Government or the District. Attorney
has not sought as a result of this Plea Agreement, including any such prosecutions that might have .
been dismissed or otherwise barred by the Double Jeopardy Clause.

‘EH the Defendant fails to fulfill his obligations under this Plea Agreement, the United States
may seek release from any or all obligations under this Plea Agreement. Ifthe Defendant fails to
fulfill his obligations under this Plea Agreement, the Defendant shall assert no claim under the

. United States Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule 1 1(e)(6) of
the Federal Rules of Criminal Procedure, or any other federal rule, that the Defendant's statements
pursuant to this Plea Agreement or any leads derived therefore, should be suppressed or are
inadmissible, Whether the Defendant has breached any provision of this Plea Agreement, if
contested by the parties, shall be determined by the Court in an appropriate proceeding at which the
Defendant's disclosures and documentary evidence shall be admissible and at which the United
States shall be required to establish a breach of the Plea Agreement by a preponderance of the
evidence. .

13, Binding Effect on this Federal District or Upon the District Attorney

It is further undetstood that this Plea Agreement does not bind any other stdte or local-
prosecuting authorities or any other federal district, except as otherwise provided herein, further, this
agreement does not bind the Attorney General of the United States in regard to any matter, civil or

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criminal, involving the tax statutes of the United States.

14, Financial Obligations

It is further understood and specifically agreed to by the Defendant that, at the time of the
execution of this document or at the time his plea is entered, the Defendant will then and there pay
over the special assessment of $100.00 per count required by Title 18, United States Code, § 3013,
to the Office of the United States District Court Clerk; the Defendant shall thereafter produce proof
of payment to the Government or to the U.S, Probation Office. If the Defendant is adjudged to be
indigent, payment of the special assessment at the time of the plea is waived, but the Defendant
agrees that it may be made payable first from any funds available to the Defendant while he is
incarcerated. The Defendant understands and agrees that, pursuant to Title 18, United States Code,
§ 3613, whatever monetary penalties are imposed by the Court will be due and payable imnmediately
and subject to immediate enforcement by the United States as provided in § 3613. Furthermore, the
Defendant agrees to provide-all of his financial information to the United States and the Probation
Office and, if requested, to participate in a pre-sentencing debtot’s examination. If the Court
imposes a schedule of payments, thé Defendant understands that the schedule of payments is merely
a minimum schedule of payments and not the only method, nor a limitation upon the methods,
available to the United States to enforce the judgment, If the Defendant is incarcerated, the
Defendant agrees to participate in the Bureau of Prisons’ Inmate Financial Responsibility Program
regardless of whether the Court specifically directs his participation or imposes a schedule of
payments,

15. Further Crimes

It js further understood that should the Defendant commit any further crimes, this Plea |
Agreement shall be deemed violated and he shall be subject to prosecution for any federal or state
~ oriminal violation of which the Government has knowledge, and that any information provided by
him may be used against him. ,

14. , Waivers

The Defendant, knowing and undeistanding all of the matters aforesaid, including the
maximum possible penalty that could be imposed, and being advised of his rights to remain silent,
to a tal by jury, to subpoena withiesses on his own behalf, to confront any witnesses against him, -
and to appeal his conviction and sentence, in exchange for the recommendations and concessions
made by the Government or the District Attorney in this Plea Agreement, hereby expressly waives
the above rights and the following:

a, The right to appeal the conviction and sentence imposed in this case, or the manner
in which that sentence was imposed, on the grounds set forth in Title 18, United
States Code, § 3742, on any ground whatsoever; and .

b, The right to contest the conviction and sentence or the manner in which the sentence

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was imposed in any post-conviction proceeding, including but not limited to a motion
brought under Title 28, United States Code, § 2255, and any type of proceeding
claiming to double jeopardy or excessive penalty as a result of any forfeiture ordered
or to be ordered in this case; and ,

C, Any right to seek attorney's fees and/or costs under the Hyde Amendment, as codified
at Title 18, United States Code, § 306A, and the Defendant acknowledges that the
Government’s position in the instant prosecution is not merely frivolous, vexations,
or undertaken in bad faith; and .

d. All rights, whether asserted directly or through a representative, to request or receive
any department or agency of the United States any records pertaining to the
‘Investigation or prosecution of this case, including without limitation any records that
may be sought by him or his representative under the Freedom of Information Act,
set forth at Title 5, United States Code, § 552, or the Privacy Act of 1974, at Title 5,
United States Code, § 552a,

e, - The Defendant further acknowledges and agrees that any factual issues regarding his
sentencing will be resolved by the sentencing judge under a preponderance of the
evidence standard, and the Defendant waives any right to’a jury determination of
these sentencing issues. The Defendant further agrees that, in making its sentencing
decision, the District Coutt may consider any relevant evidence without regard to its
admissibility under the Rules of Evidence applicable at trial.

The Defendant waives these rights in exchange for the recommendation and
concessions made by the Government and the District Attorney in this Plea Agreement, _

17. Future Contact with the Defendant

_ The Defendant and his attomey acknowledge that if forfeiture, restitution, a fine, or special
assessment, or any combination of these is ordered in the Defendant’s case, that this will require
regular contact with the Defendant during any period of incarceration, probation, and supervised
release. Further, the Defendant and his attorney understand that it is essential that defense counsel
contact the Financial Litigation Unit of the Government immediately after sentencing in this case
to confirm in writing whether defense counsel will continue to represent the Defendant in this case
and in matters involving the collection of the financial obligations imposed by the Court, If the.
Government does not receive any written acknowledgment from defense counsel within two weeks
of entry of judgment in this case, the Government will presume that defense counsel no longer
represents the Defendant and the Financial Litigation Unit will communicate directly with the
Defendant regarding collection of the financial obligations imposed by the Court. The Defendant
and his attorney understand and agree that such direct contact with the Defendant shail not be
deemed an improper ex parte contact with the Defendant if defense counsel fails to notify the

Government of any continued legal representation within two weeks after the date of entry of the
judgment in this case.

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18, Complete Agreement

It is farther understood that this Plea Agreement completely reflects all promises, agreements,
and conditions made by arid among the Government, the District Attorney, and the Defendant.

The Defendant and his Attorney of record declare that the terms of this Plea Agreem ent have
been: .

. READ.TOG OR BY FIM;
EXPLAINED TO HIM BY HIS ATTORNEY;
UNDERSTOOD BY HUM;
VOLUNTARILY ACCEPTED BY HIM; and
. AGREED TO AND ACCEPTED BY HIM.

ww

WITNESS OUR SIGNATURES, as set forth below on November 21, 2006,

FOR THE GOVERNMENT: , _ FOR THE DEFENDANT:

. Morg ‘Tee Thompson = Date ‘

Dunn’ Lampton
United States Att Defendant
by: Jack Brooks Leer, Jr. : oo .
- Assistant United States Attorney . :
Wal\-cle YZ =~ Und fob
Date Japt¢ds L. Farrior lll, Esq. - ‘Date*.

‘tyorney for Defendant -

ot Nw aoe

John Cotton Richmond =~ . Date -
Trial Attorney
Civil Rights Division, Criminal Section

A ; Me Qn 2Ovg
Cone Caranna "Date
District Attorney .

Sesond Circuit Court District

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